                        IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 NORTHERN DIVISION
                              CIVIL ACTION NO.: 2:20-cv-66

 PENN NATIONAL MUTUAL CASUALTY
 INSURANCE COMPANY a/s/o EXOTIC
 IMPORTS, INC.

                  Plaintiff,

         v.
                                                                        COMPLAINT
 VIRGINIA ELECTRIC AND POWER
 COMPANY d/b/a DOMINION NORTH
 CAROLINA POWER (A WHOLLY OWNED
 SUBSIDIRAY OF DOMINION
 ENERGY, INC.)

                  Defendant.

        NOW COMES Plaintiff, Pennsylvania National Mutual Casualty Insurance Company

(“Penn National” or “PNI”) a/s/o Exotic Imports, Inc., by and through its undersigned counsel,

and hereby complains of Defendant as follows:

                                              PARTIES

        1.       The Plaintiff is a corporation organized and existing under the laws of the

Commonwealth of Pennsylvania, with its principal place of business located at 2 N. Second Street,

Harrisburg, PA, 17101, which, at all times relevant hereto, was duly authorized to engage in the

business of insurance in North Carolina.

        2.       At all times relevant hereto, PNI provided property and other insurance to Exotic

Imports, Inc. (“Exotic Imports” or “Subrogor”), in connection with its property located at 903 Blue

Jay Street, Kill Devil Hills, NC, 27948 (“Subject Property”), under a policy of insurance that was

in full force and effect on all relevant dates, and at all relevant times.




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        3.      In the wake of the incident described below and as a result of a claim made on said

policy (which was duly paid pursuant thereto), PNI became subrogated to certain recovery rights

and interests of Exotic Imports for monies paid thereunder, including the claims giving rise to the

within cause of action.

        4.      Defendant, Virginia Electric and Power Company d/b/a Dominion Energy North

Carolina (a wholly-owned subsidiary of Dominion Energy Services, Inc.) (hereinafter “Vepco”),

is a corporation organized and existing under the laws of the Commonwealth of Virginia, with its

principal place of business and nerve center located at 120 Tredegar Street, Richmond, VA, which,

at all times relevant hereto, was duly authorized and registered to engage in the business of

electricity supply in the State of North Carolina.

        5.      At all times relevant hereto, Vepco, upon information and belief, was in the

business of and was responsible for, inter alia, designing, installing, servicing, inspecting and

maintaining the power substation, power lines, connections, utility poles, fusing and other

electrical equipment and facilities located at or near the Subject Property to ensure the reasonably

safe provision of electricity.

                                 JURISDICTION AND VENUE

        6.      Jurisdiction is based on 28 U.S.C. § 1332(a)(1) as this action involves a controversy

between citizens of different states.       Moreover, Defendant regularly, systematically and

intentionally conducts its electricity supply business in this state and purposely avails itself of the

laws, business benefits and protections of this state; all to a degree that does not offend notions of

justice and fair play in this jurisdiction.     Finally, the amount in controversy exceeds the

jurisdictional threshold of this Court, exclusive of interest and costs, as $875,139.00 was paid by

PNI to the subrogor, Exotic.




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        7.       Venue is proper in this district based on 28 U.S.C. § 1391(b)(2) and (3) in that

Defendant regularly conducts business within this District and the Subject Property where the fire

occurred is within this District.

                                     STATEMENT OF FACTS

        8.       On or about July 8, 2019, a fire erupted at the Subject Property causing extensive

damages thereto.

        9.       The fire was caused when a Vepco/Dominion 220V line separated from a pole and

fell on the Subject Property due to an apparently old and degraded support hook for the power line

failing. The electricity from Vepco/Dominion’s line then conducted into subrogor’s business

starting the fire.

        10.      As a result of the incident, subrogor sustained damage to its real and business

property, as well as business loss and the imposition of additional expenses and hardship besides,

in an amount of $875,139.00.

        11.      To the extent these damages were covered under insurance policies that Plaintiff

had in full force and effect at the time with the subrogor, claim monies were paid to the subrogor

consistent with their policy’s terms and conditions; as a result, Plaintiff has become subrogated to

certain claims asserted in this action

        12.      The incident and consequent damages were directly and proximately caused by the

negligence of Defendant as set forth herein.

                                    COUNT 1 – NEGLIGENCE

        13.      Plaintiff realleges the allegations set forth in the prior paragraphs of this Complaint

as though they were set forth at length herein.




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14.      Defendant breached its duties owed to Plaintiff in one or more of the following:

         a.     failed to use reasonable and proper care in the inspection, installation and
                maintenance of the subject power line and its connections;

         b.     failed to use reasonable and proper care in the installation and maintenance
                of the connecting hook that failed in this incident, so as to avoid the risk of
                damage to the Subject Property;

         c.     failed to properly secure the subject conductor in the connecting hook;

         d.     failed to perform adequate testing, inspection and maintenance so as to
                ensure the connecting hook would not fail and the conductor would not fall;

         e.     failed to replace the connecting hook that held up the subject conductor with
                a newer connection prior to July 8, 2019;

         f.     failed to properly alert the public, including Plaintiff’s subrogor, as to the
                dangerous propensities of this 220V conductor to fall, remain energized and
                cause damages;

         g.     failed to select and install a proper connection for use on the subject
                conductor;

         h.     failed to use the highest degree of care practicable in the provision of 220V
                power for electric power supply;

         i.     failed to properly install, inspect and maintain the connection used to hold
                up the subject conductor;

         j.     failed to use reasonable and proper care in installing, maintaining, and
                inspecting this conductor and its connections so that it would not fall to the
                ground;

         k.     failed to use reasonable and proper care installing, maintaining, and
                inspecting conductors and connections to ensure they were safe for their
                intended use;

         l.     failed to apply proper protective equipment which would promptly de-
                energize a line for fault as required by the National Electric Safety Code
                and standards of care in the electric utility industry;

         m.     failed to properly train, monitor and supervise employees and/or agents in
                the proper installation, inspection and maintenance of fittings, connections
                and other facilities used on subject conductor;

         n.     lacked the ability to detect and/or isolate a fault on the subject circuit so as
                to prevent this loss;


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                o.     failed to perform proper maintenance on the circuit when a fault was or
                       should have been detected on the circuit prior to or on July 8, 2019;

                p.     failed to have proper safeguards on this circuit so it would de-energize in
                       the event of a downed conductor;

                q.     failure to have proper fusing on this circuit capable of de-energizing downed
                       conductors in situation like the one that occurred on July 8, 2019;

                r.     failed to update this circuit design prior to July 8, 2019, to a safe
                       configuration;

                s.     failed to have adequate line protection in place on the subject circuit;

                t.     failure to conduct infrared monitoring of connection points on the subject
                       conductor prior to July 8, 2019, to discover damage, overheating and/or
                       evidence of conductor weakness;

                u.     failure to have an adequate ground protection system in place;

                v.     failed to meet the requirements of the National Electric Safety Code in the
                       design, installation, inspection and maintenance of this circuit and all
                       equipment in this circuit;

                w.     failed to meet the standard of care required in the electric utility industry in
                       the design, installation, inspection and maintenance of this circuit and all
                       equipment in this circuit;

                x.     failed to save the 220V conductor, connecting hook, and other critical
                       evidence and never produced it for inspection – despite being clearly aware
                       of a potential claim - in violation of long-standing NC spoliation law;

                y.     all of the foregoing being under the reasonable control of Defendant and its
                       employees, agents and those under its direction and control; and

                z.     all of the foregoing constitute actionable negligence.

       15.      As a direct and proximate result of such negligent conduct, the subrogor sustained

and incurred damage to its property, as well as the imposition of additional expenses and hardship,

in an amount in excess of $875,139.00.

       16.      To the extent these damages were covered under insurance policies that Plaintiff

had in full force and effect at the time with the subrogor, claim monies were paid to the subrogor




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consistent with its policy’s terms and conditions; as a result, Plaintiff has become subrogated to

certain claims asserted in this action.

       WHEREFORE, Plaintiff, Pennsylvania National Mutual Casualty Insurance Company

a/s/o Exotic Imports, Inc., respectfully prays the Court as follows:

       1.      For a judgment against Defendant on its claim for negligence;

       2.      For damages against Defendant in an amount in excess of $875,139.00;

       3.      For an award of costs incident to this suit;

       4.      For a trial by jury; and

       5.      For such other relief as this Honorable Court shall deem just and proper under the
               circumstances.

       Respectfully submitted, this the 12th day of October, 2020.

                                                              POYNER SPRUILL, LLP



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                                                              MUTUAL CASUALTY INSURANCE
                                                              COMPANY a/s/o EXOTIC IMPORTS,
                                                              INC.




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                                     de LUCA LEVINE LLC



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